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iN THE uNlTEo sTATEs oisTl=rlcT couaT nm av._,. _____o:.
Foa THE wEsTERN olsTFucT oF TENNEssEE .
wEsTERN olvlsloN 65 JUL -l AH 71 56

 

iH%llSAs M. GOUD
uNlTEo sTATEs oF AMERch, w GFTUSNlMRCl

Plaintiff,

VS.
CFL NO. 05-2OOTO-B

ALBERT K|N LEE,

Defendant.

 

OFiDER ON CONT|NUANCE AND SPEC|FY|NG PER|OD OF EXCLUDABLE DELAY
AND SE`I_|'|NG

 

This cause came on for a report date on June 23, 2005. At that time, counsel tor the
defendant requested a continuance ot the Ju|y 5, 2005 trial date in order to allow for
additional preparation in the case.

The Court granted the request and reset the trial date to September 6, 2005 with a

report date of Monday, August 29, 2005, at 9:30 a.m., in Courtroom 1 1 1th F|oor of the
Federa| Bui|ding, iVlemphis, TN.

 

The period from Ju|y 15, 2005 through September 16, 2005 is excludable under
18 U.S.C. § 3161 (h)(B)(B)(iv) because the ends of justice served in allowing for additional
time to prepare outweigh the need for a speedy trial.

rT ls so ol=tDERED this 30 day or June, 2005.

 

 

J. D N|EL BFlEEN
TATES D|STF!|CT JUDGE

This document entered on
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Notice of Distribution

This notice confirms a copy of the document docketed as number 48 in
case 2:05-CR-200]0 Was distributed by faX, mail, or direct printing on
July 5, 2005 to the parties listed.

 

 

Dan NeWsOm

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

Memphis7 TN 38103

Michael J. Stengel
STENGEL LAW FIRM
50 North Front Street

Ste. 850

Memphis7 TN 38103--111

Honorable J. Breen
US DISTRICT COURT

